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12405
                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


CHRISTIAN DAIGRE,                             )
                                              )
                                Plaintiff,    )
                                              )          Case No.: 14 CV 1980
         v.                                   )
                                              )          Judge Elaine Bucklo
MEL DAVIS, Chief of Police of the             )
Village of Robbins, in his individual         )          Magistrate Judge Finnegan
and official capacities, TYRONE WARD, )
Mayor of the Village of Robbins, in his       )
individual and official capacities, JAMES E. )           JURY TRIAL DEMANDED
COFFEY, SR., Village of Robbins Trustee, )
in his individual and official capacities,    )
DAVID BRYANT, Village of Robbins              )
Trustee, in his individual and official       )
capacities, ILA DAVIS, Village of Robbins )
Trustee, in her individual and official       )
capacities, LENNY JOHNSON, Village of )
Robbins Trustee, in his individual and        )
official capacities, SHANTIEL SIMON,          )
Village of Robbins Trustee, in his            )
individual and official capacities, and       )
CHANEL KELLY, Village of Robbins              )
Trustee, in her individual and official       )
capacities, ERNESTINE                         )
BECK-FULGHAM, Village of Robbins              )
Administrator, in her individual and official )
Capacities, and the VILLAGE OF                )
ROBBINS, ILLINOIS,                            )
                                              )
                                Defendants. )

 PLAINTIFF’S SUPPLEMENT TO MOTION FOR FORENSIC EXAMINATION

        NOW COMES Plaintiff, Christian Daigre, by and through one of his attorneys,

Laura L. Scarry of DeANO & SCARRY, LLC, and pursuant to this Court’s order dated
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February 10, 2016 (See, Docket No. 116), hereby supplements his Motion for Forensic

Examination (See, Docket No. 99) (hereinafter referred to as “Motions”) as follows:

       During a February 10, 2016 hearing on Plaintiff’s Motion, this Court ordered

Plaintiff to identify one of the numerous servers/desktops/laptops/phones/databases listed

in Plaintiff’s Motion that should be given priority in the event the Court is persuaded to

allow a forensic examination. In response, Plaintiff identifies the computer that

Defendant Mel Davis regularly and primarily utilized while he was Chief of Police for

the Village of Robbins.

       Second, although not addressed in the minute order of February 10, 2016, the

Court ordered Plaintiff to select one search term to be used during the preliminary

forensic examination of the item he selected for examination. The obvious search term

would be Plaintiff’s name, “Christian Daigre” and both “Christian” and “Daigre.” It is

impossible for Plaintiff to know which of the two identifiers Defendant Davis utilized

most often when using his computer to refer to Plaintiff and for that reason Plaintiff

selects the search term “Christian Daigre” (and both “Christian” and “Daigre”) for use

during the forensic examination. If this Court literally meant for Plaintiff to identify one

search term, then Plaintiff reluctantly selects “Daigre.”

                                               Respectfully submitted,

                                               s/Laura L. Scarry
                                               Laura L. Scarry
                                               One of Plaintiff’s Attorneys

Laura L. Scarry – No. 6231266
DeANO & SCARRY, LLC
53 W. Jackson Blvd., Suite 740
Chicago, IL 60604
(630) 690-2800
Fax: (312) 564-1425
